                 Case 2:18-cr-00104-KJM Document 59 Filed 12/12/18 Page 1 of 2



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 4

 5 Attorney for MICHAELANGELO SANCHEZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9 THE UNITED STATES OF AMERICA,          )               No. 18-CR-0104 KJM
                   Plaintiff,             )
10
                                          )               STIPULATION AND [PROPOSED]
11         v.                             )               ORDER REGARDING
                                          )               TEMPORARY APPROVAL
12   MICHAELANGELO SANCHEZ,               )               FOR TRAVEL
                                          )
13                                        )
14                     Defendant.         )               Judge: Hon. Allison Claire
     _____________________________________)
15

16          Defendant Michaelangelo Sanchez, by and through his undersigned attorney of record, and
17 the United States of America, by and through undersigned Assistant U.S. Attorney Amanda Beck,

18 hereby stipulate as follows:

19          1.      Michaelangelo Sanchez is presently on supervised release.
20          2.      His conditions of supervised release include a special condition of home detention –
21 condition 14. (Dkt. No. 14.)

22          3.      In ECF 50, Judge Newman approved Mr. Sanchez spending Thanksgiving Day,
23 Christmas Eve Day and Christmas Day with his family at his mother’s house – the address has been

24 provided to USPTS Walker.

25          4.      In this stipulation, Mr. Sanchez further seeks spending December 23, 2018, from
26 5:00 p.m. until 10:00 p.m. with his family at his mother’s house for the “Las Posadas” celebration.

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                                                      1
                 Case 2:18-cr-00104-KJM Document 59 Filed 12/12/18 Page 2 of 2



 1          5.      The government does not oppose this temporary modification of release

 2 conditions.

 3          6.      Defense counsel has spoken to Mr. Sanchez’s Pretrial Services Officer, Darryl

 4 Walker. Mr. Walker informed defense counsel that Mr. Sanchez has complied with all of his

 5 special and standard conditions for the past several months and he does not oppose this additional

 6 temporary modification of Mr. Sanchez’s pre-trial release conditions.

 7          7.      The undersigned parties hereby stipulate that the Court may temporarily modify

 8 condition of release number 14. Mr. Sanchez is allowed to leave his own home and travel to his

 9 mother’s house on December 23, 2018. Mr. Sanchez may leave his house at 5:00 p.m. and he must

10 be back inside his house by 10:00 p.m.

11
     Dated: December 11, 2018                             Respectfully submitted,
12
                                                          /s/ Michael D. Long
13
                                                          MICHAEL D. LONG
14                                                        Attorney for Michaelangelo Sanchez

15

16
     Dated: December 11, 2018                             McGREGOR SCOTT
17                                                        United States Attorney
18                                                        /s/ Amanda Beck
19                                                        AMANDA BECK
                                                          Assistant U.S. Attorney
20

21                                       [PROPOSED] ORDER

22          Good cause appearing and having been shown, the Court hereby adopts the parties’

23 stipulation as its order.

24          SO ORDERED.

25 Dated: December 11, 2018

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                                                     2
